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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DIVISION OF TEXAS
                             HOUSTON DIVISION

NICHAEL VAN DEELEN,                    §
Plaintiff,                             §
                                       §
v.                                     §        CIVIL ACTION NO. 4:23-cv-03729
                                       §
DAVID R. JONES, ELIZABETH CAROL        §
FREEMAN, JACKSON WALKER, LLP,          §
KIRKLAND & ELLIS, LLP, AND             §
KIRKLAND & ELLIS,                      §
INTERNATIONAL, LLP.,                   §
Defendants.                            §              JURY TRIAL DEMANDED


                             PLAINTIFF’S EXHIBIT 2
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                                                                               Lyle W. Cayce
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                                                                                     Clerk
                    COMPLAINT NUMBER: 05-24-90002



    COMPLAINT IDENTIFIED BY THE CHIEF JUDGE OF THE FIFTH
       CIRCUIT COURT OF APPEALS AGAINST UNITED STATES
                  BANKRUPTCY JUDGE DAVID R. ]ONES,
                     SOUTHERN DISTRICT OF TEXAS,
         UNDER THE JUDICIAL IMPROVEMENTS ACT OF 2002.




         Pursuant to Rule 5 in Article III of the Rules for Judicial-Conduct and
  Judicial-Disability Proceedings, I am identifying a Complaint against United
  States Bankruptcy Judge David R.Jones of the Southern District of Texas.
         Rule 5 provides that when a chief judge has information constituting
  reasonable grounds for inquiry into whether a covered judge has engaged in
  misconduct, the chief judge may conduct an inquiry, as he or she deems
  appropriate, into the accuracy of the information. I have conducted an
  inquiry and find there is probable cause to believe that misconduct by Judge
  Jones has occurred. It does not appear that an informal resolution is feasible
  at this time. I am therefore entering this written order stating the reasons for
  identifying a complaint.

         Judge Jones is in an intimate relationship with Elizabeth Freeman. It
  appears that they have cohabited (living in the same house or home) since
  approximately 2017. Elizabeth Freeman worked in Judge Jones's chambers
  as a law clerk. Subsequently, she was a partner in the Jackson Walker LLP
  law firm, it appears from at least 2017 until December 2022. She formed The
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  Law Office of Liz Freeman, from which she has practiced smce
  approximately December 2022.

         Members of the Jackson Walker LLP firm have regularly appeared
  before Judge Jones since 2017. Judge Jones has approved attorneys' fees
  payable to that firm in which supporting documentation, that was submitted
  to Judge Jones and is part of public records, reflects that services by Elizabeth
  Freeman were performed in connection with a number of cases for which fees
  were sought and approved, though Elizabeth Freeman was not shown as
  counsel of record on the face of pleadings. The amounts billed for Elizabeth
  Freeman's services in those cases were substantial. The fees approved by
  Judge Jones for Jackson Walker LLP were likewise substantial. Judge Jones
  approved fees payable to Jackson Walker LLP in other cases in which
  Elizabeth Freeman does not appear to have provided any legal services or
  advice. However, at all times when Elizabeth Freeman was a Jackson Walker
  LLP partner, and regardless of whether she provided services or advice in a
  case, there is a reasonable probability that Elizabeth Freeman, as a partner in
  that firm, obtained a financial benefit from, or had a financial interest in, fees
 .approved by Judge Jones. Judge Jones did not recuse in Jackson Walker LLP
  cases nor did he disclose his relationship with Elizabeth Freeman to the
  parties or their counsel in which Jackson Walker LLP appeared before him.
         A motion to recuse Judge Jones was filed in a case in which Jackson
  Walker LLP was counsel of record. The basis of the motion was an allegation
  that Judge Jones was involved in a romantic relationship with Elizabeth
  Freeman. Judge Jones referred the motion to recuse to another bankruptcy
  judge but did not disclose to that judge the facts regarding his relationship
  with Ms. Freeman. On information and belief, the judge who ruled on the
  motion to recuse was unaware that Judge Jones was romantically involved
  with Ms. Freeman or that they were cohabiting. The motion to recuse was
  denied and appealed to a federal district court judge, and on information and




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  belief,Judge Jones did not apprise that district court judge of the relationship
  with Ms. Freeman, and that judge was also unaware of the facts regarding the
  relationship. The appeal was denied. There is a reasonable probability that
  if Judge Jones had disclosed the facts concerning his relationship with
  Elizabeth Freeman to his fellow bankruptcy judge, to whom the motion to
  recuse was referred, the motion to recuse would have been granted. Because
  the motion was denied, and Judge Jones did not voluntarily recuse, Judge
  Jones presided in the case and approved Jackson Walker LLP's attorneys'
  fees. Court records appear to reflect that those fees included amounts for
  services Elizabeth Freeman performed in connection with the case.
         It appears that Judge Jones accepted an appointment from another
  bankruptcy judge to act as mediator in a matter in which Ms. Freeman, as a
  shareholder or partner in The Law Offices of Liz Freeman, was attorney of
  record for a party and participated in the mediation; that Judge Jones did not
  disclose his relationship with Ms. Freeman to the parties, to their counsel or
  to the bankruptcy judge who appointed Judge Jones. Judge Jones conducted
  the mediation to a conclusion.
         In another matter over which Judge Jones presided, it appears that
  Judge Jones approved a fee application submitted by The Law Offices of Liz
  Freeman. It does not appear that any party or any other counsel in that
  proceeding was apprised ofJudge Jones' relationship with Ms. Freeman.

        It further appears that Judge Jones recommended to other judges in
  the Southern District of Texas that Ms. Freeman be appointed to the Lawyer
  Admissions Committee for the Southern District of Texas Bankruptcy
  Court. Judge Jones did not disclose his relationship with Ms. Freeman to
  those considering the appointment.
         Judge Jones and Elizabeth Freeman are not married to one another, to
  the best of my knowledge, and do not hold themselves out as spouses.




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  However, the Commentary to Canon 3C of the Code of Conduct for United
  State Judges provides " [r ]ecusal considerations applicable to a judge's
  spouse should also be considered with respect to a person other than a spouse
  with whom the judge maintains both a household and an intimate
  relationship." In this regard, see also Guide to Judiciary Policy, vol. 2, sec.
  220, Advisory Opinion 58; Potashnick v. Port City Construction Co., 609 F.2d
  1101, 1112-14 (5th Cir. 1980).
         Based on the foregoing, there is probable cause to believe that Judge
  Jones has engaged in misconduct, as that term is defined or described in the
  code of conduct applicable to federal judges including bankruptcy judges. In
  particular:

         1)     The Code of Conduct for United States Judges provides in
  Canon 2 that "a judge should avoid impropriety and the appearance of
  impropriety in all activities." All of the alleged conduct set forth above
  appears to constitute impropriety or at least the appearance of impropriety.
         2)     Canon 2B provides in part that " [a] judge should not allow
  family, ... or other relationships to influence judicial conduct or judgment."

         3)     Canon 3C(l) provides that "[a] judge shall disqualify himself
  or herself in a proceeding in which the judge's impartiality might reasonably
  be questioned."
         4)     Canon 3C(l) provides a non-exclusive list of circumstances in
  which a judge should disqualify himself or herself in a proceeding in which
  the judge's impartiality might reasonably be questioned. Included in the list,
  in subsection 3C(l)(c), is an instance in which "the judge knows that the
  judge, . . . or the judge's spouse ... has a financial interest in the subject
  matter in controversy or in a party to the proceeding, or any other interest
  that could be affected substantially by the outcome of the proceeding."




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        5)     The non-inclusive list also includes, m Canon 3C(l)(d),
  instances in which
        the judge or the judge's spouse, or a person related to either within
        the third degree of relationship, or the spouse of such a person is:


        (ii) acting as a lawyer in the proceeding; [or]
        (iii) known by the judge to have an interest that could be substantially
        affected by the outcome of the proceeding ....



        6)     The Commentary to Canon 3C(l)(d)(ii) provides:
               The fact that a lawyer in a proceeding is affiliated with a
               law firm with which a relative of the judge is affiliated
               does not of itself disqualify the judge. However, if "the
               judge's impartiality might reasonably be questioned"
               under Canon 3C(l), or the relative is known by the judge
               to have an interest in the law firm that could be
               "substantially affected by the outcome of the
               proceeding" under Canon 3C(l)(d)(iii), the judge's
               disqualification is required.


        7)     Canon 38(3) provides "(3) [a] judge should exercise the power
  of appointment fairly and only on the basis of merit, avoiding unnecessary
  appointments, nepotism, and favoritism."




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           Pursuant to Rule 11 under Article IV of the Rules for Judicial-Conduct
  and Judicial-Disability Proceedings, Judge Jones is invited to respond either
  orally or in writing to this Complaint.

           As a general matter, Rule 23 under Article IV of the Rules for Judicial-
  Conduct and Judicial-Disability Proceedings, provides that the contents of a
  complaint against a judge are confidential. However, that Rule also provides
  that a chief judge "may disclose the existence of a proceeding under these
  Rules when necessary or appropriate to maintain public confidence in the
  judiciary's ability to redress misconduct or disability."       I conclude that
  disclosure of the existence of this complaint is necessary and appropriate,
  particularly because many of the allegations regarding Judge Jones' conduct
  have been made public in the press and in the filing of a law suit against Judge
  Jones.
           Pursuant to 28 U.S.C. § 351(b) and Rule 5, I hereby identify a
  complaint against United States Bankruptcy Judge David R. Jones. As
  provided by Rule 5, I will begin the review provided for in Rule 11 of the Rules
  for Judicial-Conduct and Judicial-Disability Proceedings.




  Date: October 13, 2023              o~~
                                                      Priscilla Richman
                                                        ChiefJudge




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